                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 3:11-00237
                                                    )       Judge Trauger
[1] OLEKSANDR VYSHNEVSKYY                           )
                                                    )

                                           ORDER

         It is hereby ORDERED that this case is set for a change of plea hearing on Tuesday,

October 9, 2012, at 1:00 p.m.

         It is so ORDERED.

         ENTER this 26th day of September 2012.


                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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